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Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 7 of 27. PageID #: 31649
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Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 9 of 27. PageID #: 31651
Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 10 of 27. PageID #: 31652
Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 11 of 27. PageID #: 31653
Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 12 of 27. PageID #: 31654
Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 13 of 27. PageID #: 31655
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Case: 1:10-cr-00387-SL Doc #: 1108-5 Filed: 11/06/15 19 of 27. PageID #: 31661
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